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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 Decapolis Systems, LLC,

               Plaintiff,                                  Case No. 2:22-cv-00407


               v.                                          Jury Trial Demanded


 Steward Health Care Network, Inc. and
 Steward Health Care System LLC,

               Defendants.


                    ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Decapolis Systems, LLC (“Plaintiff”) hereby files this Original Complaint for Patent

Infringement against Steward Health Care Network, Inc. and Steward Health Care System LLC

(collectively, “Steward” or “Defendant”), and alleges, upon information and belief, as follows:

                                            THE PARTIES

   1.      Decapolis Systems, LLC is a limited liability company organized and existing under the laws

           of the State of Florida with its principal place of business at: Decapolis Systems, LLC, 600 S.

           Dixie Hwy, #605, West Palm Beach, Florida 33401.

   2.      Steward Health Care Network, Inc. is a corporation organized and existing under the laws of

           the State of Delaware with operating hospitals in this District, including, Wadley Regional

           Medical Center, located at 1000 Pine St., Texarkana, Texas 75501. On information and

           belief, Defendant may be served through its registered agent in the State of Texas: C T

           Corporation System, 1999 Bryan St., Ste. 900 Dallas, TX 75201.


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  3.    Steward Health Care System LLC is a limited liability company organized and existing under

        the laws of the State of Delaware with with operating hospitals in this District, including,

        Wadley Regional Medical Center, located at 1000 Pine St., Texarkana, Texas 75501.. On

        information and belief, Defendant may be served through its registered agent in the State of

        Texas: C T Corporation System, 1999 Bryan St., Ste. 900 Dallas, TX 75201.

                                 JURISDICTION AND VENUE

  4.    This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338.

  5.    This Court has personal jurisdiction over Defendant.            Defendant has continuous and

        systematic business contacts with the State of Texas. Defendant transacts business within

        this District and elsewhere in the State of Texas and has appointed an agent for service of

        process in Texas. Further, this Court has personal jurisdiction over Defendant based on its

        commission of one or more acts of infringement of Decapolis’ Patents in this District and

        elsewhere in the State of Texas.

  6.    Defendant directly conducts business extensively throughout the State of Texas, by

        distributing, making, using, offering for sale, selling, and advertising (including the provision

        of interactive web pages; the provision and support of physician networks; the provision and

        support of customer accounts; and further including maintaining physical facilities) its

        services in the State of Texas and in this District. Defendant has purposefully and voluntarily

        made its business services, including the infringing systems and services, available to

        residents of this District and into the stream of commerce with the intention and expectation

        that they will be purchased and/or used by consumers in this District. On information and

        belief, Defendant is a provider of: (i) health services, (ii) billing services; (iii) physician and




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        hospital account services; and/or (iv) patient records in electronic format, throughout the

        United States.

  7.    Defendant maintains physical brick-and-mortar business locations in the State of Texas and

        within this District, retains employees specifically in this District for the purpose of servicing

        customers in this District, and generates substantial revenues from its business activities in

        this District.

  8.    Venue is proper in the Eastern District of Texas as to Defendant pursuant to at least 28

        U.S.C. §§ 1391(c)(2) and 1400(b). As noted above, Defendant maintains a regular and

        established business presence in this District.

                                       PATENTS-IN-SUIT

  9.    Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patents 7,464,040 and

        7,490,048 (hereinafter collectively referred to as “the Decapolis Patents”).

  10.   By written instruments duly filed with the United States Patent and Trademark Office,

        Decapolis is assigned all rights, title, and interest in the Decapolis Patents.         Id. Such

        Assignments are recorded in the records of the United States Patent and Trademark Office at

        Reel 055516 and Frame 0027. As such, Plaintiff Decapolis Systems, LLC has sole and

        exclusive standing to assert the Decapolis Patents and to bring these causes of action.

  11.   The Decapolis Patents are valid, enforceable, and were duly issued in full compliance with

        Title 35 of the United States Code.

  12.   Raymond A. Joao is the sole named inventor for the Decapolis Patents.

  13.   Mr. Joao is a pioneering inventor. The Decapolis Patents represent substantial technological

        advancements in the medical billing services industry, which were unconventional at the time




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        of invention. Indeed, the Decapolis Patents have been back-cited in patents issued to well-

        known industry leaders, including: IBM, Siemens AG, Walgreens, McKesson, and Sony.

  14.   Additional companies have benefited from, and been provided notice through, their back-

        citations to the Decapolis Patents, including: Atirix Medical Systems, Inc.; IBM Corp.; Bard

        Peripheral Vascular, Inc.; General Electric Company; C.R. Bard, Inc.; Healthunity Corp.,

        Epic Systems Corp.; Accelere, Inc.; Align Technology, Inc.; Siemens Aktiengesellschaft;

        Vital Data Technology, LLC; Hospira, Inc.; Medical Present Value, Inc.; PSYWARE GmbH;

        ICU Medical, Inc.; Elwha LLC; Advanced Healthcare Systems, Inc.; Quality Standards,

        LLC; Therap Services, LLC; and Devicor Medical Products, Inc.

  15.   The Decapolis Patents each include numerous claims defining distinct inventions. No single

        claim is representative of any other.

  16.   The priority date of each of the Decapolis Patents is at least as early as December 18, 1999.

        As of the priority date, the inventions as claimed were novel, non-obvious, unconventional,

        and non-routine. Indeed, the Decapolis Patents overcame a number of specific technological

        problems in the industry, and provided specific technological solutions.

  17.   By way of example, as of the date of invention, “Doctors or providers may base their

        diagnoses and/or treatments, [relying on] patients who usually supply this information on

        questionnaires or forms just prior to seeing the healthcare provider and/or during a

        preliminary interview with the provider.” See U.S. Patent No. 7,464,040, Col. 1, ll. 52-6. As

        a result, the “information obtained from these questionnaires or forms, as well as from these

        preliminary interviews with the providers, may not necessarily result in sufficient,

        comprehensive, and/or accurate, information being obtained regarding the patient.” Id.,

        Col.1, ll. 56-60. Further, as of the date of invention: “there is no guarantee that the same

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        [patient medical history] information will be provided, in a uniform manner, to a next or

        different provider. As a result, patient information may not be uniformly distributed and/or

        be available to providers at the point of treatment and/or otherwise.” Id. “Another problem

        which exists in the current healthcare system is that doctors or other providers do not always

        have the latest information and/or research material available to them prior to, and/or during,

        the diagnosis and/or treatment process.” Id., Col. 1, ll. 60-5.

  18.   Further, at the time of the invention, it had “been estimated that between 44,000 and 98,000

        individuals die in the United States alone, as the result of errors or mistakes made by doctors,

        healthcare providers, and/or healthcare facility workers. There is no doubt that many of these

        deaths result from inaccurate and/or erroneous information and/or the lack of the availability

        of correct and/or up-to-date information.” Id., Col. 1, ll. 43-49.

  19.   The Decapolis Patents overcame these technological problems by a method or apparatus

        wherein a “medical doctor will transmit [a] final diagnosis and treatment plan…to [a] central

        processing computer” and wherein “the central processing computer [sic] will then update

        the patient's records in the database [sic] so as to include all of the data and information

        described as being processed and/or generated by the central processing computer [sic],

        including, but not limited to the patient's symptoms, if any, the examination findings, the

        information contained in the diagnostic report and the treatment report, the final diagnosis

        and the prescribed treatment. Thereafter, operation [sic] will cease [sic]. The patient's records

        will then be updated and be available for the patient's next treatment and/or diagnosis.” Id.,

        Cols. 28, ll. 66-7 and Col. 29, ll. 10-2.

  20.   The claims of the Decapolis Patents are patent eligible under 35 U.S.C. § 101, 102, 103, and

        112, as reflected by the fact that three different Patent Examiners all agreed and allowed the

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        Decapolis Patents over extensive prior art as disclosed and of record during the prosecution

        of the Decapolis Patents. See Stone Basket Innov. v. Cook Medical, 892 F.3d 1175, 1179

        (Fed. Cir. 2018) (“when prior art is listed on the face of a patent, the examiner is presumed to

        have considered it”) (citing Shire LLC v. Amneal Pharm., LLC, 802 F.3d 1301, 1307 (Fed.

        Cir. 2015)); Exmark Mfg. v. Briggs & Stratton, 879 F.3d 1332, 1342 (Fed. Cir. 2018).

  21.   Moreover, any arguments relating to eligibility as may be made by Defendant here are

        necessarily merely cumulative with those already considered, and rejected, by the Patent

        Examiners in allowing the Decapolis Patents. See, e.g., Technology Licensing Corp. v.

        Videotek, Inc., 545 F.3d 1316, 1337 (Fed. Cir. 2008); Stone Basket, 892 F.3d at 1179.

  22.   As further evidence of the unconventionality of the technological solutions captured in the

        claims of the Decapolis Patents as of 1999, the United States of America, Department of the

        Army even cites to the Decapolis Patents.

  23.   As noted, the claims of the Decapolis Patents have priority to at least December 18, 1999.

  24.   The claims of the Decapolis Patents are not drawn to laws of nature, natural phenomena, or

        abstract ideas. Although the systems and methods claimed in the Asserted Patents are

        ubiquitous now (and, as a result, are widely infringed), the specific combinations of

        elements, as recited in the claims, were not conventional or routine at the time of the

        invention.

  25.   Further, the claims of the Decapolis Patents contain inventive concepts. Even if a court ruled

        the underlying aspects to be abstract, the inventive concepts disclosed in sufficient detail

        would transform the claims into patent-eligible subject matter.

  26.   The claims of the Decapolis Patents were investigated by the Patent Examiners in fields

        exactly relevant to the patented inventions.

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  27.   More specifically, the Patent Examiners performed for patent eligibility, including novelty,

        an analysis of the claims of the Decapolis Patents in at least the 600/300 (Diagnostic

        Testing), 705/2-4 (Health care management; Healthcare record management; and Patient

        record management), and 715/530 (Data Processing)

  28.   As further evidence of the inventive nature of the inventions claimed in the Decapolis

        Patents, the Decapolis Patents each had at least 135 citations before being issued as valid and

        enforceable patents.

  29.   After giving full proper credit to the prior art and having conducted a thorough search for all

        relevant art and having fully considered the most relevant art known at the time, the United

        States Patent Examiners allowed all of the claims of the Decapolis Patents to issue. In so

        doing, it is presumed that Examiners used their knowledge of the art when examining the

        claims. See K/S Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It

        is further presumed that Patent Examiners had experience in the field of the invention, and

        that the Patent Examiners properly acted in accordance with a person of ordinary skill. In re

        Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002).

  30.   The claims of the Decapolis Patents are novel and non-obvious, including over all non-cited

        art that is merely cumulative with the referenced and cited prior art. See 37 C.F.R. § 1.56(b)

        (information is material to patentability when it is not cumulative to information already of

        record in the application); see also AbbVie Deutschland GmbH v. Janssen Biotech, 759 F.3d

        1285, 1304 (Fed. Cir. 2014); In re DBC, 545 F.3d 1373, 1382 (Fed. Cir. 2008). Likewise,

        the claims of the Decapolis Patents are novel and non-obvious, including over all non-cited

        contemporaneous state of the art systems and methods, all of which would have been known

        to a person of ordinary skill in the art, and which were therefore presumptively also known

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        and considered by the Examiners. See, e.g., St. Clair I.P. Consultants v. Canon, Inc., 2011

        WL 66166 at *6 (Fed. Cir. 2011); In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002);

        In re Koninklijke Philips Patent Litigation, 2020 WL 7392868 at *19 (N.D. Cal. 2020);

        Standard Oil v. American Cyanamid, 774 F.2d 448, 454 (Fed. Cir. 1985) (persons of ordinary

        skill are presumed to be aware of all pertinent prior art).

  31.   The claims of the Decapolis Patents were all properly issued, and are valid and enforceable

        for the respective terms of their statutory life through expiration, and are enforceable for

        purposes of seeking damages for past infringement even post-expiration. See, e.g., Genetics

        Institute, LLC v. Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir.

        2011) (“[A]n expired patent is not viewed as having ‘never existed.’ Much to the contrary, a

        patent does have value beyond its expiration date. For example, an expired patent may form

        the basis of an action for past damages subject to the six-year limitation under 35 U.S.C. §

        286.”) (internal citations omitted).

                           THE ACCUSED INSTRUMENTALITIES

  32.   Upon information and belief, Defendant makes, sells, advertises, offers for sale, uses, or

        otherwise provides a plurality of electronic healthcare systems, platforms and services,

        including but not limited to a cloud-based electronic health records (“EHR”) and practice

        management system and software for patients, payers, health registries, and insurers.

        Defendant offers, among other things, a cloud database and framework to receive and send

        data and messages, fill orders, manage patient care, referrals, admissions, scheduling, check-

        in, e-prescriptions, discharge, billing, accounting, collections, security, payroll, materials

        management, practice analytics, revenue management, and reporting. It includes features as

        shown below in Figure 1, including all augmentations to these platforms or descriptions of

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          platforms. Collectively, all the foregoing is referred to herein as the “Accused

          instrumentalities.”




Figure 1 – Screenshot of Defendant’s webpage for the cloud based medical health records and
patient portal and its features as visited on October 18, 2022 and located at
https://www.stewardmedicalgroup.org/patient-portal.


                                               COUNT I
                                Infringement of U.S. Patent No. 7,490,048

   33.    Plaintiff incorporates the above paragraphs by reference.

   34.    Defendant has been on actual notice of the ’048 Patent at least as early as the date it received

          service of the Original Complaint in this litigation.

   35.    The damages period begins at least as early as six years prior to the date of service of the

          Original Complaint in this litigation.

   36.    Upon information and belief, Defendant owns, directs, and/or controls the operation of the

          Accused Instrumentalities and generates substantial financial revenues and benefits

          therefrom.



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  37.   Upon information and belief, Defendant has directly infringed and continues to directly

        infringe at least Claims 1, 2, 10, 20, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36,

        37, 38, 39, and 40 of the ’048 Patent. As exemplary, Claim 20 is by making, using,

        importing, selling, and/or offering for sale the Accused Instrumentalities. Defendant directly

        makes the infringing Accused Instrumentalities at least because it is solely responsible for

        putting the infringing systems into service by directing or controlling the systems as a whole

        and by obtaining the benefits therefrom. More specifically, and on information and belief,

        with respect to the Accused Instrumentalities, Defendant: (i) executed contracts with third

        party servicers for the provision of archival services and databases for healthcare and related

        records and/or designed and assembled such archival services and databases using its own

        employees and/or contractors; (ii) developed, owns, and maintains digital storage archives

        for healthcare and related records; (iii) provides access to such records via its own branded

        Internet domains and/or software applications using its own name and business trade dress;

        (iv) exercises authority over the provision of such record archival services and databases; (v)

        openly advertises and promotes such record archival services and databases bearing its name

        and business trade dress to customers in the United States; (vi) authored or commissioned the

        preparation of computer code for accessing and retrieving stored and/or archived healthcare

        records via its Internet domain web pages and/or software applications; (vii) claims

        ownership and control over such stored and/or archived healthcare records by virtue of its

        corporate branding and the provision of direct access; and (viii) receives monetary benefits

        from the provision of such healthcare records storage, archival, and retrieval services to

        customers.




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  38.   Further on information and belief, Defendant directly uses the infringing Accused

        Instrumentalities at least because it assembled the combined infringing elements and makes

        them collectively available in the United States, including via its Internet domain web pages

        and/or software applications, as well as via its internal systems and interfaces. Further, and

        on information and belief, Defendant has directly infringed by using the infringing Accused

        Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

        activities. Such testing and/or legal compliance necessarily requires Defendant to make and

        use the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct

        infringer by virtue of its branding and marketing activities, which collectively comprise the

        sale and offering for sale of the infringing Accused Instrumentalities.

  39.   More specifically, and on information and belief, Defendant is making, using, and offering

        for sale a computer-implemented method, identified as the Accused Instrumentalities,

        comprising: receiving information regarding a restriction or limitation regarding an ability of

        a person or an entity to at least one of access, obtain, change, alter, and modify, information

        contained in an individuals or patients healthcare record or an individual’s or patients

        healthcare file, wherein the individuals or patient’s healthcare record or the individuals or

        patient’s healthcare file contains healthcare information or healthcare-related information

        personal to the individual or patient.

  40.   As Figure 2 shows above, Defendant is making, using, and offering for sale a computer-

        implemented method and apparatus, identified as the Accused Instrumentalities.

  41.   Additionally, the Accused Instrumentalities are specially configured such that they perform a

        method wherein the restriction or limitation contains information regarding at least one of a

        healthcare provider, a healthcare payer, a healthcare insurer, and an authorized entity, and

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        information regarding a designated purpose for allowing each of the at least one of a

        healthcare provider, a healthcare payer, a healthcare insurer, and an authorized entity, to at

        least one of access, obtain, change, alter, and modify, the information contained in an

        individuals or patients healthcare record or an individual’s or patient’s healthcare file,

        wherein the designated purpose is at least one of to perform a diagnosis, to perform a

        diagnosis for a certain ailment, illness, or symptom, to provide a second opinion, to verify or

        disprove a condition or a pre-existing condition, to submit an insurance claim, and to process

        an insurance claim.

  42.   Defendant’s infringing methods each separately, are storing the information regarding a

        restriction or limitation regarding an ability of a person or an entity to at least one of access,

        obtain, change, alter, and modify, the information contained in an individuals or patient’s

        healthcare record or an individual’s or patient’s healthcare file; processing, with a processor,

        a request by a person or an entity to at least one of access, obtain, change, alter, and modify,

        the information contained in an individuals or patient’s healthcare record or an individual’s

        or patient’s healthcare file; determining, using the information regarding the restriction or

        limitation, whether the person or the entity is allowed or authorized to at least one of access,

        obtain, change, alter, and modify, the information contained in an individual’s or patient’s

        healthcare record or an individuals or patient’s healthcare file; generating a message

        containing at least one of information regarding the person or the entity making the request,

        and identification information regarding the person or the entity making the request, and

        further wherein the message contains an actual change, alteration, or modification, made to

        the information contained in an individual’s or patients healthcare record or an individuals or




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        patient’s healthcare file; and transmitting the message to a communication device of the

        individual or patient via, on, or over, a communication network.

  43.   Additionally, upon information and belief, Defendant owns, directs, and/or controls the

        infringing method operation of the Accused Instrumentalities that includes wherein the

        message is transmitted to the communication device of the individual or patient at least one

        of during, concurrently with, at a same time as, and prior to a completion of an at least one of

        an accessing, an obtaining, a changing, an altering, and a modifying, of the information

        contained in an individuals or patient’s healthcare record or an individual’s or patients

        healthcare file by the person or the entity, or at least one of during, concurrently with, at a

        same time as, and prior to a completion of a processing of the request to at least one of

        access, obtain, change, alter, and modify, the information contained in an individuals or

        patient’s healthcare record or an individual’s or patient’s health care file.

  44.   On information and belief, the infringement of the Decapolis Patents by Defendant will now

        be willful through the filing and service of this Complaint.

  45.   In addition or in the alternative, Defendant now has knowledge and continues these actions

        and it indirectly infringes by way of inducing direct infringement by others and/or

        contributing to the infringement by others of the ’048 Patent in the State of Texas, in this

        judicial district, and elsewhere in the United States, by, among other things, making, using,

        importing, offering for sale, and/or selling, without license or authority, infringing services

        for use in systems that fall within the scope of at least Claims 1, 2, 10, 20, 22, 23, 24, 25, 26,

        27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, and 40 of the ’048 Patent. This includes

        without limitation, one or more of the Accused Instrumentalities by making, using, importing




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        offering for sale, and/or selling such services, Defendant injured Decapolis and is thus liable

        to Decapolis for infringement of the ’048 Patent under 35 U.S.C. § 271.

  46.   Now with knowledge of the Decapolis Patents, Defendant induces infringement under Title

        35 U.S.C. § 271(b). Defendant will have performed actions that induced infringing acts that

        Defendant knew or should have known would induce actual infringements. See Manville

        Sales Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med.

        Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A]

        finding of inducement requires a threshold finding of direct infringement—either a finding of

        specific instances of direct infringement or a finding that the accused products necessarily

        infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks Manufacturer

        Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).

  47.   Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See

        Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee

        may prove intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850

        F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not

        required; rather, circumstantial evidence may suffice.”).

  48.   Defendant has taken active steps to induce infringement, such as advertising an infringing

        use, which supports a finding of an intention for the accused product to be used in an

        infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913,

        932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the contributory

        infringement doctrine “was devised to identify instances in which it may be presumed from

        distribution of an article in commerce that the distributor intended the article to be used to

        infringe another’s patent, and so may justly be held liable for that infringement”).

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  49.   In addition, on information and belief, and based in part upon the clear infringement by the

        Accused Instrumentalities, Defendant has a practice of not performing a review of the patent

        rights of others first for clearance or to assess infringement thereof prior to launching

        products and services. As such, Defendant has been willfully blind to the patent rights of

        Plaintiff.

  50.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

        Plaintiff.   The specific dollar amount of damages adequate to compensate for the

        infringement shall be determined at trial but is in no event less than a reasonable royalty from

        the date of first infringement to the expiration of the Decapolis Patents.

  51.   Each of Defendant’s aforesaid activities have been without authority and/or license from

        Plaintiff.

                                         COUNT II
                           Infringement of U.S. Patent No. 7,464,040

  52.   Plaintiff incorporates the above paragraphs by reference.

  53.   Defendant has been on actual notice of the ’040 Patent at least as early as the date it received

        service of the Original Complaint in this litigation.

  54.   The infringement damages period begins at least as early as six years prior to the date of

        service of the Original Complaint in this litigation.

  55.   The ’040 patent application claims the benefit of priority of U.S. Provisional Patent

        Application Ser. No. 60/286,422, filed April 25, 2001, titled “APPARATUS AND

        METHOD       FOR     PROCESSING         AND/OR          FOR   PROVIDING      HEALTH      CARE

        INFORMATION AND/OR HEALTHCARE-RELATED INFORMATION,” the subject

        matter and teachings of which are hereby incorporated by reference herein.



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  56.   Upon information and belief, Defendant owns, directs, and/or controls the operation of the

        Accused Instrumentalities and generates substantial financial revenues and benefits

        therefrom.

  57.   Upon information and belief, Defendant has directly infringed and continues to directly

        infringe at least Claims 1 and 46 of the ’040 Patent by making, using, importing, selling,

        and/or offering for sale the Accused Instrumentalities.       Defendant directly makes the

        infringing Accused Instrumentalities at least because it is solely responsible for putting the

        infringing systems into service by directing or controlling the systems as a whole and by

        obtaining the benefits therefrom. More specifically, and on information and belief, with

        respect to the Accused Instrumentalities, Defendant: (i) executed contracts with third party

        servicers for the provision of archival services and databases for healthcare and related

        records and/or designed and assembled such archival services and databases using its own

        employees and/or contractors; (ii) developed, owns, and maintains digital storage archives

        for healthcare and related records; (iii) provides access to such records via its own branded

        Internet domains and/or software applications using its own name and business trade dress;

        (iv) exercises authority over the provision of such record archival services and databases; (v)

        openly advertises and promotes such record archival services and databases bearing its name

        and business trade dress to customers in the United States; (vi) authored or commissioned the

        preparation of computer code for accessing and retrieving stored and/or archived healthcare

        records via its Internet domain web pages and/or software applications; (vii) claims

        ownership and control over such stored and/or archived healthcare records by virtue of its

        corporate branding and the provision of direct access; and (viii) receives monetary benefits




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        from the provision of such healthcare records storage, archival, and retrieval services to

        customers.

  58.   Further on information and belief, Defendant directly uses the infringing Accused

        Instrumentalities at least because it assembled the combined infringing elements and makes

        them collectively available in the United States, including via its Internet domain web pages

        and/or software applications, as well as via its internal systems and interfaces. Further, and

        on information and belief, Defendant has directly infringed by using the infringing Accused

        Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

        activities. Such testing and/or legal compliance necessarily requires Defendant to make and

        use the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct

        infringer by virtue of its branding and marketing activities which collectively comprise the

        sale and offering for sale of the infringing Accused Instrumentalities.

  59.   More specifically, and on information and belief, the Accused Instrumentalities, each

        separately, receives information regarding an individual, wherein the information regarding

        an individual is transmitted from a first computer or from a first communication device,

        wherein the first computer or the first communication device is associated with a healthcare

        provider, wherein the information regarding an individual is transmitted via, on, or over, at

        least one of the Internet and the World Wide Web, wherein the information regarding an

        individual contains information regarding at least one of a symptom, an examination finding,

        a diagnosis, a treatment, an administration of a treatment, and a procedure; a database or a

        memory device, wherein the database or the memory device is associated with the receiver

        and is located at a location remote from the first computer or remote from the first

        communication device, wherein the database or the memory device stores information

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        regarding a plurality of individuals, a plurality of healthcare providers, and a plurality of

        healthcare insurers or healthcare payers.

  60.   The Accused Instrumentalities each separately, use the information regarding a plurality of

        individuals, a plurality of healthcare providers, and/or a plurality of healthcare insurers or

        healthcare payers, which includes a healthcare record or a healthcare history of, for, or

        associated with, each individual of a plurality of individuals, along with a healthcare record

        or a healthcare history of, for, or associated with, the individual, information regarding a

        healthcare practice of, and an insurance accepted by, each of the plurality of healthcare

        providers, including information regarding a healthcare practice of, and an insurance

        accepted by, the healthcare provider, information for processing or for storing information

        regarding a healthcare diagnosis or a healthcare treatment, and information for submitting an

        insurance claim to a healthcare insurer or a healthcare payer associated with the individual.

  61.   Upon information and belief, Defendant owns, directs, and/or controls the operation of the

        Accused Instrumentalities that includes a processing device, wherein the processing device

        processes the information regarding an individual, and further wherein the processing device

        processes information for at least one of storing the information regarding an individual in

        the database or the memory device and updating the healthcare record or the healthcare

        history of, for, or associated with, the individual, and further wherein the processing device

        automatically generates an insurance claim in response to the storing of the information

        regarding an individual in the database or the memory device or the updating of the

        healthcare record or the healthcare history of, for, or associated with, the individual, wherein

        the insurance claim is suitable for being automatically submitted to the healthcare insurer or

        the healthcare payer associated with the individual or is suitable for being automatically

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        transmitted to a second computer or to a second communication device, wherein the second

        computer or the second communication device is associated with the healthcare insurer or the

        healthcare payer associated with the individual, and further wherein the processing device

        transmits the insurance claim to the second computer or to the second communication device.

  62.   As Figure 2 shows above, Defendant is making, using, and offering for sale a computer-

        implemented method and apparatus, identified as the Accused Instrumentalities.

  63.   On information and belief, the infringement of the Decapolis Patents by Defendant is now

        willful and continues to be willful through the filing and service of this Complaint.

  64.   In addition or in the alternative, now with knowledge of the Decapolis Patents, Defendant

        induces direct infringement by others and/or contributing to the infringement by others of the

        ’040 Patent in the State of Texas, in this judicial district, and elsewhere in the United States,

        by, among other things, making, using, importing, offering for sale, and/or selling, without

        license or authority, infringing services for use in systems that fall within the scope of at least

        Claims 1 and 46 of the ’040 Patent. This includes without limitation, one or more of the

        Accused Instrumentalities by making, using, importing offering for sale, and/or selling such

        services, Defendant injured Decapolis and is thus liable to Decapolis for infringement of the

        ’040 Patent under 35 U.S.C. § 271.

  65.   Defendant now actively induces infringement under Title 35 U.S.C. § 271(b). Defendant’s

        actions induce infringing acts that Defendant knew or should have known would induce

        actual infringements. See Manville Sales Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553

        (Fed.Cir.1990), quoted in DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006)

        (en banc in relevant part). “[A] finding of inducement requires a threshold finding of direct

        infringement—either a finding of specific instances of direct infringement or a finding that

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        the accused products necessarily infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands,

        Inc. v. ABA Locks Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).

  66.   Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See

        Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee

        may prove intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850

        F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not

        required; rather, circumstantial evidence may suffice.”).

  67.   If Defendant continues these actions as of this Complaint, Defendant will have taken active

        steps to induce infringement, such as advertising an infringing use, which supports a finding

        of an intention for the accused product to be used in an infringing manner. See Metro-

        Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162 L.

        Ed. 2d 781 (2005) (explaining that the contributory infringement doctrine “was devised to

        identify instances in which it may be presumed from distribution of an article in commerce

        that the distributor intended the article to be used to infringe another’s patent, and so may

        justly be held liable for that infringement”).

  68.   In addition, on information and belief, and based in part upon the clear infringement by the

        Accused Instrumentalities, Defendant has a practice of not performing a review of the patent

        rights of others first for clearance or to assess infringement thereof prior to launching

        products and services. As such, Defendant has been willfully blind to the patent rights of

        Plaintiff.

  69.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

        Plaintiff.   The specific dollar amount of damages adequate to compensate for the




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              infringement shall be determined at trial but is in no event less than a reasonable royalty from

              the date of first infringement to the expiration of the Decapolis Patents.

   70.        Each of Defendant’s aforesaid activities have been without authority and/or license from

              Plaintiff.

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                                            PRAYER FOR RELIEF

         WHEREFORE, Decapolis Systems, LLC respectfully requests the Court enter judgment against

Defendant as follows:

         1.         Declaring that Defendant has infringed each of the Decapolis Patents;

         2.         Awarding Decapolis Systems, LLC its damages suffered because of Defendant’s

                    infringement of the Decapolis Patents;

         3.         Enter a judgment awarding treble damages pursuant to 35 U.S.C. §284 for Defendant’s

                    willful infringement of one or more of the Decapolis Patents;

         4.         Awarding Decapolis Systems, LLC its costs, reasonable attorneys’ fees, expenses, and

                    interest; and

         5.         Granting Decapolis Systems, LLC such further relief as the Court finds appropriate.

                                                JURY DEMAND

         Decapolis Systems, LLC demands trial by jury, under Fed. R. Civ. P. 38.




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                                        Respectfully Submitted

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